                             UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF MICHIGAN

In re:

         Brenda Lee Parkey                                             Chapter 13
                                                                       Case No. 19-21700
                                                                       Judge Daniel S. Opperman
                         Debtor.
___________________________________________________________/

   ORDER GRANTING DEBTOR'S MOTION TO EXTEND THE AUTOMATIC STAY AS TO
                            ALL CREDITORS

        Upon the reading and filing of Debtor's Motion to Extend the Automatic Stay, which was
presented to this Court pursuant to L.B.R. 4001-4, and L.B.R. 9014-1, and upon oral hearing:

       IT IS HEREBY ORDERED that the Automatic Stay as to all creditors in this case shall be
extended for the full term of the Chapter 13 case or further order from the Court.



Signed on September 19, 2019




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